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VIA ECF
The Honorable Arun Subramanian                                              July 19, 2024
United States District Court, Southern District of New York
500 Pearl Street, Courtroom 15A
New York, NY 10007

Re:    United States, et al. v. Live Nation Entertainment, Inc., et al., No. 1:24-cv-03973

Dear Judge Subramanian:

         Plaintiff United States and Plaintiff States (collectively, “Plaintiffs”) request that the
Court enter either Plaintiffs’ Proposed Protective Order, attached as Exhibit A, or Plaintiffs’
Alternative Proposed Protective Order, attached as Exhibit B. 1 After meeting and conferring
diligently over several weeks, the parties have reached agreement on all issues except one: the
extent to which Live Nation Entertainment, Inc. and Ticketmaster L.L.C.’s (collectively,
“Defendants”) in-house counsel may access and use Confidential information produced by non-
parties. See Ex. A ¶ 6(c). Plaintiffs request oral argument on this motion. Plaintiffs also request
that the Court allow non-parties who produced information in the pre-complaint investigations 5
business days to comment on the parties’ competing proposals.
         Plaintiffs’ proposed Protective Order is consistent with orders in similar cases and
protects Confidential non-party information while still permitting in-house counsel reasonable
access that allows them to assist in the defense. Defendants’ proposal, by contrast, would give in-
house counsel access to all Confidential non-party information without sufficiently limiting their
ability to participate in business decision-making that impacts their customers and competitors.

                                  Background of Negotiations

         Plaintiffs initiated confidentiality discussions by sending Defendants a draft order on
June 13, 2024. That initial draft included a provision giving Defendants the opportunity to
designate two in-house counsel who could access confidential information, provided they also
agreed to limit their participation in competitive decision-making. Defendants responded by
initially rejecting, and then watering down, Plaintiffs’ proposed limitations on competitive
decision-making by designated in-house counsel.
         While Plaintiffs are willing to allow designated in-house counsel access to Confidential
material with appropriate and commonplace guardrails that wall off in-house counsel from
competitive decision-making, Defendants’ proposal—unfettered access with superficial and
unenforceable limitations—does not sufficiently protect non-parties’ confidential information.
         Throughout the negotiations, Defendants insisted on giving two Live Nation employees
access to all non-party Confidential information: Dan Wall, Executive Vice President for
Corporate and Regulatory Affairs, and Kimberly Tobias, Senior Vice President for Litigation.
Although Ms. Tobias is in-house counsel in Live Nation’s legal department, Mr. Wall is not. Mr.
Wall—who previously served as outside counsel for Live Nation—was recently hired by
Defendants to serve a broader, non-legal role. In a February 2023 Reuters interview, Mr. Wall

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  Plaintiffs’ proposed modifications to the Court’s model Protective Order for Ex. A is identified
in redline in Exhibit C; Plaintiffs’ proposed modifications to the Court’s model Protective Order
for Ex. B is identified in redline in Exhibit D.
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described his position—“which is not in the company’s legal department”—as being “intended
to capture the high-profile things that are happening at any moment in time” in Live Nation.
Exhibit E.
        The potential harm of non-party Confidential information spilling over into Defendants’
business decisions is real. During Plaintiffs’ pre-complaint investigations, in response to civil
investigative demands, many Live Nation customers and competitors in ticketing, promotions,
and other areas, produced competitively sensitive information including confidential contracts
and documents involving the negotiation of financial terms; business strategies and plans; Board
of Directors meeting minutes and presentations; and internal financial projections. Many of these
non-parties, and other non-parties, will produce similar information during discovery.
        Plaintiffs made several proposals to Defendants to address these concerns, culminating in
a July 10, 2024 proposal that would have allowed in-house counsel access to Confidential
information so long as they agreed not to participate in or advise on business decisions regarding
a non-party relevant to this action. Defendants rejected this proposal on July 15.

                             Plaintiffs’ Proposed Protective Order

        Plaintiffs’ Proposed Protective Order includes ¶ 6(c), which is modeled on the order
entered in United States v. Google, No. 1:20-cv-03010 (D.D.C. Jan. 1, 2021), ECF No. 98, a
recent monopolization case in which numerous non-parties produced commercially sensitive
Confidential information. See Ex. A, at 4–5; Exhibit F, at 2, 14–15. Plaintiffs’ proposal differs
from the Google order in one significant way. The Google order defines two tiers of protected
information: “Confidential Information” and “Highly Confidential Information,” and gives in-
house counsel no access to Highly Confidential Information. See Ex. F at 14–15. Plaintiffs first
proposed a one-tier “Confidential” designation to more closely follow this Court’s Model
Protective Order. After reaching impasse, Plaintiffs proposed a two-tier Protective Order based
on the Google order. See Ex. B. Either of these proposed orders would address Plaintiffs’
concerns.
        Plaintiffs’ proposals appropriately balance non-party competitors’ and customers’ need
for protection against Defendants’ desire for access, either by denying in-house counsel access to
Highly Confidential information or by limiting their ability to participate in or advise on
competitive decision-making.
        Multiple courts have recognized the inherent risk of permitting in-house counsel access to
the confidential information of competitors or customers. As the court explained in F.T.C. v.
Advoc. Health Care Network, 162 F. Supp. 3d 666 (N.D. Ill. 2016), the risk of inadvertent
disclosure is higher for in-house counsel than outside counsel because compartmentalization of
protected information is “a feat beyond the compass of ordinary minds” and “an individual
cannot rid himself of the knowledge he has gained; he cannot perform a prefrontal lobotomy on
himself . . . .” Id. at 670–71. Similarly, in Sullivan Mktg., Inc. v. Valassis Commc’ns, Inc., 1994
WL 177795 (S.D.N.Y. May 5, 1994), the court noted that “where advice on a seemingly legal
issue such as an antitrust question is sought, counsel’s intimate knowledge of a competitor’s
pricing policies could surely influence the nature of the advice given.” Id. at *3.
        In antitrust cases, courts routinely enter two-tier orders that vary the protection offered
for “Highly Confidential” and “Confidential” information. In those cases, and under this Court’s
model, in-house counsel are often denied any access to highly confidential documents. See, e.g.,
the orders entered in Ex. F, at 13; United States v. Am. Airlines Grp., No. 21-cv-11558 (D. Mass.
Apr. 20, 2022), ECF No. 99, attached as Exhibit G, at 12–15; United States v. Bertelsmann SE

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& Co. KGaA, No. 21-cv-02886 (D.D.C. Nov. 17, 2021), ECF No. 38, attached as Exhibit H, at
11–12. Courts have also recognized that in-house counsel can participate effectively in litigation
without accessing highly confidential information. See F.T.C. v. Sysco Corp., 83 F. Supp. 3d 1, 4
(D.D.C. 2015) (noting in-house counsel was “still able to assist outside counsel and advise [his
employer] on litigation strategy” even though he was not permitted to access his employer’s
competitors’ highly confidential information).
        Under two-tier protective orders, in-house counsel access to the less protected category—
“confidential information”—is also strictly limited. See Ex. F, at 14 (limiting the number of
designated in-house counsel and requiring them to avoid competitive decision-making); Ex. G, at
14–15 (same); Ex. H, at 11 (same). And in cases in which the order does not differentiate
between “Confidential” and “Highly Confidential” information, courts have denied in-house
counsel access to Confidential information altogether. See, e.g., United States v. Deere & Co.,
No. 1:16-cv-08515 (N.D. Ill. Apr. 26, 2017), ECF No. 286.
        Defendants’ proposal purports to restrict in-house counsel’s participation in competitive
decision-making, but they caveat their proposal with a broad loophole that renders that restriction
meaningless. See Defendants’ proposal, attached as Exhibit I. Specifically, Defendants’ proposal
would allow in-house counsel to “participate in or advise on Competitive Decision-
Making . . . for the purpose of rendering legal advice as to litigation, litigation risk, regulatory
compliance and risk, and intellectual property licensing issues related to such decisions . . .”
Ex. I, at 4. This language substantially increases the likelihood that Confidential information will
be inadvertently disclosed or misused. Here, Plaintiffs challenge certain of Defendants’
acquisitions of competitors, contracts with venues and artists, and allege retaliation by
Defendants. Under Defendants’ proposal, in-house counsel could review competitors’ strategic
documents while simultaneously advising Defendants on “litigation risk” that includes
consideration of the non-parties’ Confidential strategies. There are countless opportunities for
Defendants to seek in-house counsels’ advice regarding potential “litigation risk” associated with
competitive decision-making.
        Moreover, Defendants have not shown that they would suffer any prejudice if in-house
counsel were denied access to non-parties’ Confidential information, much less shown that such
prejudice outweighs any risk of inadvertent disclosure. See, e.g., Autotech Techs. Ltd. P’ship v.
Automationdirect.com, Inc., 237 F.R.D. 405, 406–14 (N.D. Ill. 2006) (holding the risk of
inadvertent disclosure outweighed any potential prejudice); Presidio Components, Inc. v. Am.
Tech. Ceramics Corp., 546 F. Supp. 2d 951, 953 (S.D. Cal. 2008) (stating one “must show actual
prejudice to that party’s case and not just increased difficulty in managing the litigation”).
        Nor could they. Defendants’ able outside counsel—experienced antitrust counsel who
have represented Defendants for years—will have access to all Confidential information. See
Advoc. Heath Care Network, 162 F. Supp. 3d at 672–73; Blackbird Tech LCC v. Serv. Lighting
& Elec. Supplies, Inc., 2016 WL 2904592, at *5 (D. Del. May 18, 2016) (“Where parties are
represented by outside counsel, courts have little trouble balancing the harms in protective order
disputes, often readily concluding that the outside counsel of a party’s choice can adequately
represent its interests even if in-house counsel is precluded from viewing confidential
information.”).
                                         *       *       *
        Non-parties—such as Defendants’ competitors and clients—should not be forced to take
the risk that their confidential information will be used to their disadvantage by their principal
supplier or foremost competitor. Accordingly, Plaintiffs request that this Court enter Plaintiffs’
Proposed Protective Order (Ex. A) or Plaintiffs’ Alternative Proposed Protective Order (Ex. B).
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Respectfully submitted,

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